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                                                                       Page 1

1            IN THE UNITED STATES DISTRICT COURT
2                        DISTRICT OF MINNESOTA
3
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5
6
7       CIVIL NO.:          18-1776 (JRT/HB)
8
9
10      IN RE PORK ANTITRUST LITIGATION
11
12      This Document Relates to:
13      All Actions
14
15
16
17
18
19                         HIGHLY CONFIDENTIAL
20          REMOTE VIDEO DEPOSITION TESTIMONY OF:
21                                RONALD FREED
22                              July 28, 2022
23
24
25

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1       reports.
2            Q.      What about every month?
3            A.      There are not monthly reports.
4       I'm thinking that the cold storage
5       reports are definitely monthly and the
6       Foreign Agricultural Service's reports
7       are also -- no, they're weekly.
8            Q.      So, I mean, what are we talking
9       just in an average month?                       How many --
10      like ballpark estimate, how many rows of
11      data would you estimate the USDA is
12      putting out to the world about supply in
13      this industry?
14                   MR. SHIFTAN:              Objection to form.
15           A.      So on the supply side, it's --
16      it's not lots of rows of data because,
17      you know, the data we're talking about is
18      somewhat simplistic.                   It's -- it's number
19      of head of hogs and it's pounds of hogs,
20      so it's not lots of rows.
21           Q.      And let me ask this.                    What about
22      the same types of questions when it comes
23      to pork, right, the finished product.
24           A.      Right.
25           Q.      Does the USDA also put out

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1       information about pork supply?
2             A.      Pork supply, I would say no,
3       other than that pork supply is a
4       numerical -- it's a multiplier of hog
5       supply.
6             Q.      And the plaintiffs, they also
7       have suggested that all the defendants,
8       included Clemens, deanonymized Agri Stats
9       data.        Did you ever deanonymize Agri
10      Stats data to figure out who's who?
11            A.      No.     You can't do it.
12            Q.      What do you mean, you can't do
13      it?        Why not?
14            A.      Each of the data lines are
15      anonymous.          There's no correlation that
16      it's packer 1, packer 2.                      Even without
17      name, there's nothing like that.                            Every
18      line is anonymous.
19            Q.      How many --
20            A.      Other than your own data.                       Your
21      own data is always identified as you.
22      But everyone else's data is just -- it's
23      just a packer.
24            Q.      Well, just because it's
25      anonymous, that doesn't mean you couldn't

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1       do it.       I mean, have you ever sat with a
2       report and tried by pulling other data
3       and outside data to deanonymize an Agri
4       Stats report?
5            A.      I don't think you could do it.
6       I know you just said something opposite,
7       but you can't do it.
8            Q.      How sure are you that you can't
9       do it?
10           A.      I am like in the 99th percentile
11      and more sure.
12           Q.      Earlier today when you were
13      asked some questions about price and our
14      bids, you gave a quote.                     It was usually
15      it's a race to the bottom, that's how
16      competition works.                 What did you mean by
17      that?
18           A.      So I mean exactly that.                      Every
19      buyer -- just as every packer would
20      desire to sell higher, every vendor in
21      any industry would desire -- desire to
22      sell at higher prices, every buyer wants
23      to buy lower.             And as a general case
24      statement, domestic U.S. per capita pork
25      consumption has been declining for most

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1       resist decreases.
2            Q.      I want to pivot.                 So we talked
3       about who controls hog supply, but now I
4       want to pivot, and I want to talk about
5       whether or not Clemens is happier in a
6       world with a ton of hogs or when hog
7       supply is really tight.                     Okay?
8                    MS. COTTRELL:              Can we pull up --
9       I think it's tab 56, and we're going to
10      mark it Freed 1.
11      (Defendant's Exhibit 1 was marked for
12      identification and is attached.)
13                   THE CONCIERGE:               Give me one
14      moment, Counselor.                 I apologize.
15                   MS. COTTRELL:              No, it's no
16      worries.         Sorry, Kyle, I didn't mean to
17      throw you for a loop.
18                   THE CONCIERGE:               No, no, you're
19      good.       I apologize, I didn't see that you
20      uploaded documents.                  I'm just going to
21      grab that really quick.
22                   MS. COTTRELL:              No, it's fine.
23                   And just for the record, Lane,
24      Freed 1 is Clemens 651270.
25                   THE CONCIERGE:               Okay.        I

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1       apologize.
2                    MS. COTTRELL:              Oh, you're fine.
3                    THE CONCIERGE:               You said we're
4       going to mark this as Freed 1; correct?
5                    MS. COTTRELL:              Correct.
6                    THE CONCIERGE:               Okay.        Got it.
7            Q.      (By Ms. Cottrell) All right.
8       Mr. Freed, do you recognize Freed Exhibit
9       1 to be an e-mail sent by you to a number
10      of folks at Clemens dated January 17th of
11      2016, subject, "Pork Market Commentary"?
12           A.      Yes.
13           Q.      Created and kept in the regular
14      course of your business?
15           A.      Yes.
16           Q.      And is this one of those Informa
17      documents that you copied and pasted?
18           A.      It is.
19           Q.      All right.            I know you said you
20      don't always agree with Informa, but I
21      want to read one sentence and see what
22      you think of this one.
23           A.      Right.
24           Q.      All right?            In the top
25      paragraph, second sentence, "Packer

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1       margins remain exceptionally strong."
2       Let me pause there.
3                    What's a packer margin?
4            A.      So a packer margin is -- or
5       packers describe it as the cutout value.
6       It's taking the -- what the USDA
7       publishes as the average negotiated sale
8       price of each primal, you multiply it
9       times the number of pounds that you --
10      that you cut of that primal, and that's
11      the value in that day or week of that
12      primal.        You add up all the primals and
13      things that are arguably not primals, and
14      that's the value of the pork from the
15      hogs that you killed.                   Let's just
16      theoretically say that the value of -- of
17      that meat in that day or that week is a
18      million bucks.              If you paid $800,000 for
19      hogs, you had a $200,000 cutout win, or
20      packer margin in this context.                           If you
21      paid $1.2 million for those pigs, you had
22      a $200,000 cut -- cutout loss or -- or
23      packer margin loss.
24           Q.      All right.            And just for a jury
25      down the road, let me simplify.                           So the

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1       packer margin, you got to look at how
2       much you're paying to buy the hogs?
3            A.      Right.
4            Q.      And then how much you can sell
5       the pork on the other hand?
6            A.      If you sold at the industry
7       average selling price.
8            Q.      And the difference is the packer
9       margin?
10           A.      That's correct.
11           Q.      Okay.        So the sentence goes on
12      to say, "but weekly hog slaughter volumes
13      are in the process of declining, and as
14      this persists over the next several weeks
15      we could see a $7-8 rally in cash hog
16      values without any appreciable increase
17      in the cutout value, shrinking packer
18      margin back to more normal levels."
19                   Do you see that?
20           A.      I do.
21           Q.      Sir, in layperson's terms, what
22      is this saying?               Is this saying that
23      fewer hogs is a good thing for the
24      packers or a bad thing for the packers?
25           A.      This is saying --

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1                     MR. SHIFTAN:              Objection to form.
2             A.      Yeah.        This is saying that it's
3        a bad thing for the packers.                         They're
4        saying the packer margin -- margin is
5        going to shrink as the hog supply goes
6        down.
7             Q.      I just have to pause because the
8        whole theory of plaintiffs' case is that
9        packers love it when there's tight hog
10       supply.        That's the whole theory of their
11       case.      So I need you to explain to the
12       jury why in the world Informa Economics
13       would be saying tight hog supply is a bad
14       thing for the packers.
15            A.      They're making --
16                    MR. SHIFTAN:              Objection to form.
17            A.      They're making the assumption
18       that packers are going to have to start
19       competing for hog producers' supply and
20       have to pay more to get it.
21            Q.      Well, what about at Clemens in
22       your experience?               And I know it can vary
23       in different situations.                      But as a
24       general matter, does Clemens prefer a
25       situation where there's tight hog supply

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1        or where there's abundant hog supply?
2             A.      So what we prefer -- I'm going
3        to just flip it a little bit, if that's
4        okay.      There's windfall money for packers
5        when there is lots of pigs.                        When there
6        are lots of pigs, hog prices drop like a
7        rocket, and -- and there's windfall
8        profits in it.              So it's to packers'
9        advantage when there's lots of pigs.
10            Q.      I just need -- I'm sorry, it's
11       just -- I just need to make sure I
12       understand.           Why is it to the packers'
13       advantage when there's a windfall and so
14       many pigs?
15            A.      It's because of a couple of
16       things.        And without getting too far into
17       the weeds, one of the things is falling
18       markets are appreciable because a lot of
19       buying is done on trailing market prices.
20       So if yesterday the price was 26 and
21       today it's 25, a lot of the business is
22       done on yesterday's 26.                     So there's money
23       in that.         But secondly, there's --
24       there's a reasonable bottom to what
25       things are -- will trade at from a

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1        wholesale standpoint.                   I'm not talking
2        about pigs now; I'm talking about pork.
3        There's a reasonable bottom to it, and it
4        just doesn't go below that.                        So the more
5        your cost falls on pigs because there's
6        too many of them, the more profit there
7        is for you.
8             Q.      All right.            I'm going to change
9        gears for a minute and turn to the USDA's
10       mandatory price reporting, which you
11       testified about earlier today.
12            A.      Yeah.
13            Q.      Do you remember that?
14            A.      I do.
15            Q.      Okay.        Just broad strokes, help
16       me understand, what is the USDA's
17       mandatory price reporting system?                             Like,
18       what is that?
19            A.      What -- oh, how does it work,
20       what's the obligation of packers under
21       the act and so forth.                   So the obligation
22       -- so it -- it came from Congress,
23       obviously, and -- and -- and its
24       implementation was given by the
25       agricultural marketing service of the

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